
69 N.Y.2d 873 (1987)
Robert F. Flacke, as Commissioner of Environmental Conservation of the State of New York, Appellant, and Town of Onondaga, Intervenor,
v.
Onondaga Landfill Systems, Inc., Respondent.
Court of Appeals of the State of New York.
Argued January 7, 1987.
Decided March 31, 1987.
Robert Abrams, Attorney-General (Douglas H. Ward, O. Peter Sherwood, Peter H. Schiff, James A. Sevinsky and Lawrence A. Rappoport of counsel), for appellant.
William J. Leberman and Alan S. Burstein for Onondaga Landfill Systems, Inc., respondent.
Robert E. Wildridge, receiver pro se.
Concur: Chief Judge WACHTLER and Judges SIMONS, KAYE, ALEXANDER, TITONE, HANCOCK, JR., and BELLACOSA.
Order reversed, with costs, and matter remitted to Supreme Court, Onondaga County, with directions to dismiss plaintiff Flacke's application for mootness.
